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  8                               UNITED STATES DISTRICT COURT
  9                            SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                )      Criminal Case No. 95cr0973JM
                                               )
 11                      Plaintiff,            )
                                               )
 12        v.                                  )      ORDER OF DISMISSAL OF
                                               )      INDICTMENT AND WITHDRAWAL
 13   ARTURO GUZMAN-LOERA (2)                  )      OF WARRANT
                                               )
 14                      Defendant.            )
                                               )
 15
 16        Upon application of the United States Attorney, and good cause appearing therefrom,
 17        IT IS HEREBY ORDERED that the indictment in the above-captioned case against defendant
 18   ARTURO GUZMAN-LOERA is dismissed.
 19        IT IS FURTHER ORDERED that any warrants issued for this defendant in this case be recalled.
 20        IT IS SO ORDERED.
 21   DATED: May 14, 2007
 22
                                                        Hon. Jeffrey T. Miller
 23                                                   United States District Judge
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